606 F.2d 114
    CA PC 79-3872 Barbara BORNSTEIN, as Trustee for NationalIndemnity Company of Omaha, Plaintiff-Appellee,v.CITIZENS NATIONAL BANK OF ORLANDO, now known as Pan AmericanBank of Orlando, N. A., Defendant-Appellant.
    No. 75-2965.
    United States Court of Appeals,Fifth Circuit.
    Nov. 8, 1979.
    
      Winifred J. Sharp, Orlando, Fla., for defendant-appellant.
      Hugh M. Palmer, Orlando, Fla., for plaintiff-appellee.
      Before JONES, COLEMAN and TJOFLAT, Circuit Judges.
      PER CURIAM:
    
    
      1
      In this diversity case there are no fact issues.  The questions presented require the determination and application of Florida law.  This Court certified the questions presented to the Supreme Court of Florida.  Bornstein v. Citizens National Bank of Orlando, 5th Cir. 1977, 564 F.2d 721.  The questions have been answered by the Florida court.  Citizens National Bank of Orlando v. Barbara Bornstein, 1979, 374 So.2d 6.  The answers given require that the judgment of the district court be and it is hereby
    
    
      2
      AFFIRMED.
    
    